Is 44. (Rev. oxiigy CASE 8:19-cv-02916-MSS-SPAy PP COVER SHERT 29/19 Page 1 of 1 PageID 33

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement ihe filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS

Judith Bon Wisire yr. cng |) RNS + Puppot Kuch 5 Grasox

 

 

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(b) County of Residence of First Listed Plaintiff _ County of, sfesidence of First Listed Defendant

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(c) Attorneys (Firm Name, Address, and Telephone Number) he ~
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II. BASIS OF JURISDICTION (Place an “X” in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL P ARTIES (Place an “X” in One Box for Plainti
(For Diversity Cases Only) and One Box for Defendant)
G1 U.S. Government Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State al G 1 {Incorporated or Principal Place go4 04
of Business In This State
O 2 U.S. Government 14 Diversity Citizen of Another State O 2 OG 2 ‘Incorporated and Principal Place go5 05
‘Defendant (Indicate Citizenship of Parties in Item II) of Business In Another State
Citizen or Subject of a O3 © 3. Foreign Nation go6 06
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IV. NATURE O OF SUIT (Place an “x” in One Box Only) _ Click here for: Nature of Suit Code Descrinions

   

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

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3 120 Marine G 310 Airplane O 365 Personal Injury - of Property 21 USC 881 [0 423 Withdrawal 3 376 Qui Tam (31 USC
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3 140 Negotiable Instrument Liability 0 367 Health Care/ J 400 State Reapportionment
0 150 Recovery of Overpayment | 0 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS: * 10) 410 Antitrust
& Enforcement of Judgment Slander Personal Injury , 0 820 Copyrights 1 430 Banks and Banking
© 151 Medicare Act G 330 Federal Employers’ Product Liability O 830 Patent C 450 Commerce
0 152 Recovery of Defaulted Liability 0) 368 Asbestos Personal 0 835 Patent - Abbreviated 0 460 Deportation
Student Loans G 340 Marine Injury Product New Drug Application {C1 470 Racketeer Influenced and
(Excludes Veterans) © 345 Marine Product Liability 01 840 Trademark Corrupt Organizations
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© 195 Contract Product Liability | 0 360 Other Personal Property Damage Relations 0 864 SSID Title XVI 7 850 Securities/Commodities/
O 196 Franchise Injury 0 385 Property Damage 0 740 Railway Labor Act 07 865 RSI (405(g)) Exchange
© 362 Personal Injury - Product Liability 0 751 Family and Medical © 890 Other Statutory Actions
Medical Malpractice Leave Act © 891 Agricultural Acts
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G 220 Foreclosure 441 Voting O 463 Alien Detainee Income Security Act or Defendant) Act
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C) 240 Torts to Land 443 Housing/ Sentence 26 USC 7609 O 899 Administrative Procedure
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VII. REQUESTED IN = OJ CHECK IFTHISIS A “CLASS ACTION DEMAND $ , CHECK YES only if demanded in complaint:

 

VI. CAUSE OF ACTION

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. MM 5 00 OO . JURY DEMAND: O Yes ONo
VIII. RELATED CASE(S) see
IF ANY (See instructions): JUDGE DOCKET NUMBER

 

 

FOR OFFICE USE ONLY ,

Sus EES

RECEIPT # ; AMOUNT APPLYING IFP JUDGE "MAG. JUDGE
